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                                   UNITED STATES DISTRICT COURT
                                 IN THE WESTERN DISTRICT OF TEXAS
                                          WACO DIVISION


RED ROCK ANALYTICS, LLC,
Plaintiff,
                                                      Case No. 6:21-CV-00346-ADA
          v.
                                                      JURY TRIAL DEMANDED
APPLE INC., QUALCOMM INC.
Defendants.


 DECLARATION OF SARAH GUSKE IN SUPPORT OF DEFENDANTS QUALCOMM
  INC. AND APPLE INC.’S MOTION TO TRANSFER VENUE TO THE NORTHERN
                        DISTRICT OF CALIFORNIA




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I, Sarah Guske declare:

1.        I am a partner at the law firm of Baker Botts, L.L.P., and counsel for the Defendant

          Qualcomm Incorporated (“Qualcomm”). I have personal knowledge of the facts stated

          herein and if called as a witness, could and would testify thereto.

2.        Attached as Exhibit 1 is, on information and belief, a true and correct copy of a 2021

          Florida Limited Liability Company Annual Report filed with the Florida Secretary of

          State by Plaintiff Red Rock Analytics, LLC on March 30, 2021.

     3. Attached as Exhibit 2 is, on information and belief, a true and correct copy of Red Rock

          Analytics LLC’s Initial Disclosures in Red Rock Analytics, LLC v. Apple Inc., No. 2:19-

          cv-117-JRG (E.D. Tex. 2019), filed as Exhibit 27 to Defendant Apple Inc’s Motion to

          Transfer Venue Under 28 U.S.C. § 1404(a) (D.I. 54-41) in No. 2:19-cv-117-JRG.

     4. Attached as Exhibit 3 is, on information and belief, a true and correct copy of the

          LinkedIn profiles for Mr. Rishi Mohindra and Mr. Tong Zhang, accessed on August 24,

          2021.

5.        Attached as Exhibit 4 is a true and correct copy of available flights departing on October

          1, 2021 from San Diego (SAN) to San Jose (SJC) and returning to San Diego (SAN) on

          the same day, accessed from Google Flights on August 20, 2021.

6.        Attached as Exhibit 5 is a true and correct copy of driving directions between the San

          Jose Airport (SJC) and the United States District Court in San Jose, California; driving

          directions between the Austin Airport (AUS) and the United States District Court in

          Waco, Texas; and driving directions between the Dallas-Fort Worth Airport (DFW) and

          the United States District Court in Waco, Texas, accessed from Google Maps on August

          20, 2021.




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7.        Attached as Exhibit 6 is a true and correct copy of available flights departing on October

          1, 2021 from San Diego, California (SAN) to Austin, Texas (AUS) and returning to San

          Diego (SAN) on the same day, accessed from Google Flights on August 20, 2021.

8.        Attached as Exhibit 7 is a true and correct copy of available flights departing on October

          1, 2021 from San Diego, California (SAN) to Dallas, Texas (DFW or DAL) and returning

          to San Diego (SAN) on the same day, accessed from Google Flights on August 20, 2021.

9.        Attached as Exhibit 8 is a true and correct copy of available flights departing on October

          1, 2021 from San Jose, California (SJC) to Austin, Texas (AUS) and returning to San

          Jose (SJC) on the same day, accessed from Google Flights on August 20, 2021.

10.       Attached as Exhibit 9 is a true and correct copy of available flights departing on October

          1, 2021 from San Jose, California (SJC) to Dallas, Texas (DFW or DAL) and returning to

          San Jose (SJC) on the same day, accessed from Google Flights on August 20, 2021.

11.       Attached as Exhibit 10 is, on information and belief, a true and correct copy of excerpts

          of the file history for U.S. Patent No. 7,346,313.

12.       Attached as Exhibit 11 is a true and correct copy of time to milestone statistics for

          WDTX and NDCA, generated by Docket Navigator™ for cases filed on or after January

          1, 2016, accessed on August 20, 2021.

13.       Attached as Exhibit 12 is, on information and belief, a true and correct copy of excerpts

          of U.S. Patent Nos. 6,744,829, 7,035,341, 6,625,424, and 6,717,981.

14.       Attached as Exhibit 13 is a true and correct copy of the List of Qualcomm Accused

          Products named in an exhibit to Plaintiff's First Amended Complaint, referenced as

          Exhibit A in the Declaration of Anthony Simon in Support of Defendant Qualcomm

          Incorporated’s Motion to Transfer Venue to the Northern District of California and the




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          Declaration of Rajiv Vijayan in Support of Defendant Qualcomm Incorporated’s Motion

          to Transfer Venue to the Northern District of California.



I declare under penalty of perjury that the foregoing is true and correct.



Executed on this 24th day of August, 2021 in Vail, Colorado.


                                                               /s/ Sarah Guske
                                                               Sarah Guske




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